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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

DEBORAH WILLIAMS,                             §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §           Civil Action No. 3:16-CV-02045-N
                                              §
SSC DALLAS OPERATING CO., LLC,                §
et al.,                                       §
                                              §
       Defendants.                            §

                                          ORDER

       This Order addresses Plaintiff Deborah Williams’ motion to remand [5], and

Defendants SSC Dallas Operating Co., LLC, Individually and d/b/a The Meadows Health

and Rehabilitation Center; SavaSeniorCare Administrative Services, LLC; SavaSeniorCare

Consulting, LLC; and SavaSeniorCare, LLC’s motion to remand [9]. The parties have each

requested that the Court remand this case. Having considered the motions to remand, the

Court finds that they should be and are hereby granted.

       It is therefore ordered that this case is remanded to the 95th District Court of Dallas

County, Texas.

       Signed January 5, 2017.



                                                  _________________________________
                                                            David C. Godbey
                                                       United States District Judge




ORDER – SOLO PAGE
